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                              Exhibit 19
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                                                                    Division of Business Services
                                                                        Department of State
                                                                          State of Tennessee
                                                                         312 Rosa L. Parks AVE, 6th FL
                                                                           Nashville, TN 37243-1102
   Tre Hargett
 Secretary of State


                                               Filing Information

Name:        Warner Music Nashville LLC
General Information
SOS Control #              000614717                                           Formation Locale: TENNESSEE
Filing Type:               Limited Liability Company - Domestic                Date Formed:      10/06/2009
                           10/06/2009 11:47 AM                                 Fiscal Year Close 9
Status:                    Active                                              Member Count:     1
Duration Term:             Perpetual
Managed By:                Member Managed

Registered Agent Address                                        Principal Address
C T CORPORATION SYSTEM                                          20 MUSIC SQUARE EAST
300 MONTVUE RD                                                  NASHVILLE, TN 37203-4344
KNOXVILLE, TN 37919-5546

The following document(s) was/were filed in this office on the date(s) indicated below:
Date Filed   Filing Description                                                                      Image #
01/03/2023 2022 Annual Report                                                                      B1315-4384
Principal Address 1 Changed From: 20 MUSIC SQ E To: 20 MUSIC SQUARE EAST
12/17/2021 2021 Annual Report                                                                      B1135-9422
12/15/2020 2020 Annual Report                                                                      B0955-7721
12/18/2019 2019 Annual Report                                                                      B0792-5045
02/21/2019 Assumed Name                                                                            B0651-5340
New Assumed Name Changed From: No Value To: Elektra Nashville
12/20/2018 2018 Annual Report                                                                      B0627-8697
01/26/2018 Registered Agent Change (by Agent)                                                      *B0478-4994
Registered Agent Physical Address 1 Changed From: 800 S GAY ST To: 300 MONTVUE RD
Registered Agent Physical Address 2 Changed From: STE 2021 To: No Value
Registered Agent Physical Postal Code Changed From: 37929-9710 To: 37919-5546
12/20/2017 2017 Annual Report                                                                      B0468-6756
12/20/2016 2016 Annual Report                                                                      B0322-8635
12/18/2015 2015 Annual Report                                                                      B0174-9168
12/10/2014 2014 Annual Report                                                                      B0028-3428
Managed By Changed From: Manager Managed To: Member Managed
12/28/2023 6:25:38 PM                                                                                    Page 1 of 2
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                                         Filing Information

Name:        Warner Music Nashville LLC
09/16/2013 2013 Annual Report                                                     A0201-2103
Managed By Changed From: Member Managed To: Manager Managed
09/26/2012 2012 Annual Report                                                     A0144-2239
Principal Address 1 Changed From: 20 MUSIC SQUARE EAST To: 20 MUSIC SQ E
Principal Postal Code Changed From: 37203 To: 37203-4344
09/30/2011 2011 Annual Report                                                     A0094-2226
09/08/2010 2010 Annual Report                                                     A0046-2441
05/19/2010 Assumed Name                                                           6720-3068
New Assumed Name Changed From: No Value To: ELEKTRA NASHVILLE
10/06/2009 Initial Filing                                                         6608-0042

Active Assumed Names (if any)                                                 Date       Expires
Elektra Nashville                                                          02/21/2019   02/21/2024




12/28/2023 6:25:38 PM                                                                   Page 2 of 2
